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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA, ex rel.
 GERALD POLUKOFF, M.D                         ORDER DENYING MOTION TO STAY
                                                 DISCOVERY (ECF No. 301)
              Plaintiff,
       v.                                       Case No.: 2:16-cv-00304-TS-EJF

 ST. MARK’S HOSPITAL,                              District Judge Ted Stewart
 SHERMAN SORENSEN, M.D., and
 SORENSEN CARDIOVASCULAR                        Magistrate Judge Evelyn J. Furse
 GROUP,

              Defendants.



      This matter having come before the Court on Defendants’, Sherman Sorensen
M.D. and Sorensen Cardiovascular Group, Motion to Stay Discovery Pending
Resolution of its Motions Before the Court (ECF No. 301), and the Court having
considered the submissions and arguments of the parties at the October 16, 2019
hearing, hereby DENIES the Motion for the reasons stated on the record.


      DATED this 16th day of October, 2019.


                                              BY THE COURT:


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                                              Magistrate Judge Evelyn J. Furse
